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  8                          UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
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      In re Silver Wheaton Corp.             )    Master File No. 2:15-cv-05146-CAS (PJWx)
 11
      Securities Litigation                  )    c/w: 2:15-cv-05173-CAS (PJWx)
 12                                          )
                                             )    CLASS ACTION
 13
                                             )
 14                                          )    [PROPOSED] ORDER GRANTING
                                             )    STIPULATION TO EXTEND STAY
 15
                                             )    PENDING DOCUMENTATION OF
 16                                          )    SETTLEMENT
                                             )
 17
                                             )    JUDGE: Hon. Christina A. Snyder
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      [PROPOSED] ORDER GRANTING STIP. TO EXTEND
      STAY PENDING DOCUMENTATION OF SETTLEMENT
      2:15-cv-05146-CAS(PJWx)
Case 2:15-cv-05173-CAS-JEM Document 62 Filed 01/09/20 Page 2 of 2 Page ID #:316



  1          The Court having received and reviewed the parties’ stipulation filed on
  2   January 8, 2020 to extend the stay of this Action from January 10, 2020 to January
  3   24, 2020, while the Parties document their proposed class action settlement:
  4          IT IS HEREBY ORDERED THAT:
  5          1.     The stay of all deadlines in this Action is extended until January 24,
  6   2020; and
  7          2.     Plaintiffs shall file their Motion for Preliminary Approval of Settlement
  8   on or before January 24, 2020.
  9          IT IS SO ORDERED.
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 11   Dated: January 9, 2020
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 13                                           Honorable Christina A. Snyder
                                              United States District Court Judge
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      [PROPOSED] ORDER GRANTING STIP. TO EXTEND     -1-
      STAY PENDING DOCUMENTATION OF SETTLEMENT
      2:15-cv-05146-CAS(PJWx)
